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                 UNITED STATES DISTRICT COURT
                 NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

KARYN MILLER,                )
                             )
    Plaintiff,               )
                             )
    v.                       )            No.
                             )
TRANS UNION LLC, EXPERIAN    )
INFORMATION SOLUTIONS, INC., )
EQUIFAX INFORMATION          )
SERVICES, LLC, and NCB       )
MANAGEMENT SERVICES, INC., )
                             )
    Defendants.              )

                       PLAINTIFF’S COMPLAINT

     Plaintiff, KARYN MILLER (“Plaintiff”), through her attorney, HORMOZDI

LAW FIRM, LLC, alleges the following against Defendants, TRANS UNION LLC

(“Trans Union”), EXPERIAN INFORMATION SOLUTIONS, INC. (“Experian”),

EQUIFAX     INFORMATION       SERVICES,     LLC    (“Equifax”)   and     NCB

MANAGEMENT SERVICES, INC. (“NCB Management Services”) (collectively

“Defendants”):




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                              INTRODUCTION

1. Counts I to IV of Plaintiff’s Complaint are based on the Fair Credit Reporting

   Act (“FCRA”), 15 U.S.C. § 1681, et seq. and Regulation V, 12 C.F.R. part

   1022.

2. Count V of Plaintiff’s Complaint is based on the Fair Debt Collection

   Practices Act (FDCPA), 15 U.S.C. § 1692, et seq.

                      JURISDICTION AND VENUE

3. This court has jurisdiction under the FCRA 15 U.S.C. § 1681, et seq., the

   FDCPA 15 U.S.C. § 1692k, as well as pursuant to 28 U.S.C. §§ 1331 and

   1337.

4. Venue and personal jurisdiction in this District are proper because Defendants

   do or transact business within this District, and a material portion of the events

   at issue occurred in this District.

                                   PARTIES

5. Plaintiff is an individual who was at all relevant times residing in the City of

   Stone Mountain, DeKalb County, Georgia.

6. At all relevant times, Plaintiff was a “consumer” as that term is defined by the

   FCRA and FDCPA.




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7. Defendant Trans Union is a credit reporting agency that regularly conducts

   business throughout every state and county in the United States and as a

   corporation that does business in the state of Georgia, is a citizen of the state

   of Georgia.

8. Defendant Experian is a credit reporting agency that regularly conducts

   business throughout every state and county in the United States and as a

   corporation that does business in the state of Georgia, is a citizen of the state

   of Georgia.

9. Defendant Equifax is a credit reporting agency that regularly conducts

   business throughout every state and county in the United States and as a

   corporation that does business in the state of Georgia, is a citizen of the state

   of Georgia.

10.At all relevant times Defendants Trans Union, Experian and Equifax each

   were a “consumer reporting agency” as that term is defined by the FCRA.

11.Defendant NCB Management Services regularly conducts business

   throughout every state and county in the United States and as a corporation

   that does business in the state of Georgia, is a citizen of the state of Georgia.

12.At all relevant times, Defendant NCB Management Services was a “furnisher”

   as that term is defined by the FCRA and Regulation V. 12 C.F.R. § 1022.41(c).

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13.At all relevant times, Defendants each were a “person” as that term is defined

   by the FCRA.

14.Defendant NCB Management Services is a “debt collector” as that term is

   defined by the FDCPA.

15.Plaintiff allegedly owes a debt as that term is defined by the FDCPA.

                       FACTUAL ALLEGATIONS

16.At all relevant times, credit reports as alleged in this pleading are “consumer

   reports” as that term is defined by 15 U.S.C. § 1681a(d).

17.Defendants Trans Union, Experian and Equifax have been reporting

   derogatory and inaccurate statements and information relating to Plaintiff and

   Plaintiff’s credit history to third parties (hereinafter, the “inaccurate

   information”).

18.The inaccurate information of which Plaintiff complains is an account, or

   trade-line, that reflects Plaintiff’s history of credit, named: NCB Management

   Services.

19.On or about June 17, 2020, Plaintiff sent a letter to Defendant NCB

   Management Services informing it of the inaccurate reporting of the trade-

   line.

20.In Plaintiff’s letter dated June 17, 2020:

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      a. Plaintiff disputed owing the alleged debt.

      b. Plaintiff requested for validation of the alleged debt.

21.In or around July 2020, Plaintiff received a letter from Defendant NCB

   Management Services dated July 20, 2020.

22.In Defendant NCB Management Services’ letter dated July 20, 2020:

      a. Defendant NCB Management Services stated it was unable to

           substantiate Plaintiff’s dispute or verify the account information.

      b. Defendant NCB Management Services did not provide validation of the

           alleged debt.

23.On or about July 27, 2020, Plaintiff sent a letter to Defendants Trans Union,

   Experian and Equifax informing them of the inaccurate reporting of the trade-

   line.

24.In Plaintiff’s letter dated July 27, 2020:

      a. Plaintiff informed Defendants Trans Union, Experian and Equifax of

           the response letter she received from Defendant NCB Management

           Services.

      b. Plaintiff informed Defendants Trans Union, Experian and Equifax that

           Defendant NCB Management Services could not verify or validate the

           trade-line.

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      c. Plaintiff requested that Defendants Trans Union, Experian and Equifax

          correct the inaccurate trade-line.

      d. Plaintiff requested that Defendants Trans Union, Experian and Equifax

          remove the inaccurate trade-line.

25.The inaccurate information negatively reflects upon Plaintiff, Plaintiff’s credit

   repayment history, Plaintiff’s financial responsibility as a debtor, and

   Plaintiff’s worthiness.

26.The credit reports have been and continue to be disseminated to various

   persons and credit grantors, both known and unknown.

27.On or about July 27, 2020, Plaintiff disputed the inaccurate information with

   Defendants by written communication to their representatives [and by

   following Defendants’ Trans Union, Experian and Equifax established

   procedure for disputing consumer credit information].

28.Upon information and belief, Defendants Trans Union, Experian and Equifax

   notified NCB Management Services of Plaintiff’s dispute and the nature of

   the dispute.

29.Upon information and belief, within five (5) days of Plaintiff disputing the

   inaccurate information with Defendants Trans Union, Experian and Equifax,

   Defendant NCB Management Services received notification from Defendants

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   Trans Union, Experian and Equifax of Plaintiff’s dispute and the nature of

   the dispute.

30.Upon information and belief, Defendants Trans Union, Experian and Equifax

   received the results of Defendant NCB Management Services investigation

   as to Plaintiff’s dispute.

31.Upon information and belief, Defendants Trans Union, Experian and Equifax

   updated the reporting of the account at issue solely based upon the

   information it received from Defendant NCB Management Services in

   response to Plaintiff’s dispute.

32.Despite Plaintiff’s efforts to date, Defendants have nonetheless deliberately,

   willfully, intentionally, recklessly and negligently repeatedly failed to

   perform reasonable reinvestigations of the above dispute as required by the

   FCRA, have failed to remove the inaccurate information and have continued

   to report the derogatory inaccurate information about Plaintiff.

33.At all times pertinent hereto, Defendants were acting by and through

   Defendants’ agents, servants and/or employees who were acting within the

   course and scope of their agency or employment, and under the direct

   supervision and control of Defendants.




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34.At all times pertinent hereto, the conduct of Defendants, as well as that of

   Defendants’ agents, servants and/or employees, was malicious, intentional,

   willful, reckless, and in grossly negligent disregard for federal and state laws

   and the rights of Plaintiff herein.

35.Plaintiff has been damaged, and continues to be damaged, in the following

   ways:

      a. Impeded Plaintiff’s ability to obtain credit;

      b. Out of pocket expenses associated with disputing the information only

           to find the information to remain on the credit report;

      c. Emotional distress and mental anguish associated with having

           incorrect derogatory personal information transmitted about Plaintiff

           to other people both known and unknown;

      d. Denial of credit, loans, financing and/or other damages, not within five

           (5) days of Plaintiff disputing the inaccurate information with yet

           known by Plaintiff; and

      e. Decreased credit score which may result in inability to obtain credit on

           future attempts.




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                      COUNT I
   DEFENDANT TRANS UNION VIOLATED THE FAIR CREDIT
                  REPORTING ACT

36.Plaintiff repeats and re-alleges paragraphs one (1) through thirty-five (35) of

   Plaintiff’s Complaint as the allegations in Count I of Plaintiff’s Complaint.

37.Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Trans Union is liable to

   Plaintiff for engaging in the following conduct:

      a. Willfully or negligently failing to conduct a proper and reasonable
         reinvestigation concerning the inaccurate information after receiving
         notice of the dispute from Plaintiff, in violation of 15 U.S.C. §1681i(a);

      b. Willfully or negligently failing to provide all relevant information
         provided by Plaintiff regarding the dispute of the inaccurate
         information to the furnishing entities, in violation of 15 U.S.C.
         §1681i(a);

      c. Willfully or negligently failing to review and consider all relevant
         information submitted by Plaintiff concerning the dispute of the
         inaccurate information, in violation of 15 U.S.C. §1681i(a);

      d. Willfully or negligently failing to delete the inaccurate information
         from Plaintiff’s credit file after reinvestigation, in violation of 15
         U.S.C. §1681i(a); and

      e. Willfully or negligently failing to employ and follow reasonable
         procedures to assure maximum possible accuracy of Plaintiff’s credit
         report, information and file, in violation of 15 U.S.C. §1681e(b).

38.The conduct of Trans Union was a direct and proximate cause, as well as a

   substantial factor, in bringing about the injuries, damages and harm to Plaintiff

   that are outlined more fully above and, as a result, Trans Union is liable to

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     Plaintiff for the full amount of statutory, actual and punitive damages, along

     with the attorneys’ fees and the costs of litigation, as well as such further

     relief, as may be permitted by law.

     WHEREFORE, Plaintiff, KARYN MILLER, respectfully requests judgment

be entered against Defendant, TRANS UNION LLC, for the following:

        a. All actual compensatory damages suffered pursuant to the Fair Credit

           Reporting Act, 15 U.S.C. § 1681n(a);

        b. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting

           Act, 15 U.S.C. § 1681n(a);

        c. Costs and reasonable attorneys’ fees pursuant to the Fair Credit

           Reporting Act, 15 U.S.C. § 1681n(a);

        d. Punitive damages and equitable relief, including enjoining Defendant

           from further violations, pursuant to Fair Credit Reporting Act, 15

           U.S.C. § 1681n(a); and

        e. Any other relief that this Honorable Court deems appropriate.

                      COUNT II
DEFENDANT EXPERIAN VIOLATED THE FAIR CREDIT REPORTING
                        ACT

  39.Plaintiff repeats and re-alleges paragraphs one (1) through thirty-five (35) of

     Plaintiff’s Complaint as the allegations in Count II of Plaintiff’s Complaint.


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40.Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Experian is liable to

   Plaintiff for engaging in the following conduct:

      a. Willfully or negligently failing to conduct a proper and reasonable
         reinvestigation concerning the inaccurate information after receiving
         notice of the dispute from Plaintiff, in violation of 15 U.S.C. §1681i(a);

      b. Willfully or negligently failing to provide all relevant information
         provided by Plaintiff regarding the dispute of the inaccurate
         information to the furnishing entities, in violation of 15 U.S.C.
         §1681i(a);

      c. Willfully or negligently failing to review and consider all relevant
         information submitted by Plaintiff concerning the dispute of the
         inaccurate information, in violation of 15 U.S.C. §1681i(a);

      d. Willfully or negligently failing to delete the inaccurate information
         from Plaintiff’s credit file after reinvestigation, in violation of 15
         U.S.C. §1681i(a); and

      e. Willfully or negligently failing to employ and follow reasonable
         procedures to assure maximum possible accuracy of Plaintiff’s credit
         report, information and file, in violation of 15 U.S.C. §1681e(b).

41.The conduct of Experian was a direct and proximate cause, as well as a

   substantial factor, in bringing about the injuries, damages and harm to Plaintiff

   that are outlined more fully above and, as a result, Experian is liable to

   Plaintiff for the full amount of statutory, actual and punitive damages, along

   with the attorneys’ fees and the costs of litigation, as well as such further

   relief, as may be permitted by law.

   WHEREFORE, Plaintiff, KARYN MILLER, respectfully requests judgment
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be entered against Defendant, EXPERIAN INFORMATION SOLUTIONS, INC.,

for the following:

         a. All actual compensatory damages suffered pursuant to the Fair Credit

             Reporting Act, 15 U.S.C. § 1681n(a);

         b. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting

             Act, 15 U.S.C. § 1681n(a);

         c. Costs and reasonable attorneys’ fees pursuant to the Fair Credit

             Reporting Act, 15 U.S.C. § 1681n(a);

         d. Punitive damages and equitable relief, including enjoining Defendant

             from further violations, pursuant to Fair Credit Reporting Act, 15

             U.S.C. § 1681n(a); and

         e. Any other relief that this Honorable Court deems appropriate.

                       COUNT III
 DEFENDANT EQUIFAX VIOLATED THE FAIR CREDIT REPORTING
                         ACT

   42.Plaintiff repeats and re-alleges paragraphs one (1) through thirty-five (35) of

      Plaintiff’s Complaint as the allegations in Count III of Plaintiff’s Complaint.

   43.Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Equifax is liable to

      Plaintiff for engaging in the following conduct:

         a. Willfully or negligently failing to conduct a proper and reasonable
            reinvestigation concerning the inaccurate information after receiving
            notice of the dispute from Plaintiff, in violation of 15 U.S.C. §1681i(a);
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         b. Willfully or negligently failing to provide all relevant information
            provided by Plaintiff regarding the dispute of the inaccurate
            information to the furnishing entities, in violation of 15 U.S.C.
            §1681i(a);

         c. Willfully or negligently failing to review and consider all relevant
            information submitted by Plaintiff concerning the dispute of the
            inaccurate information, in violation of 15 U.S.C. §1681i(a);

         d. Willfully or negligently failing to delete the inaccurate information
            from Plaintiff’s credit file after reinvestigation, in violation of 15
            U.S.C. §1681i(a); and

         e. Willfully or negligently failing to employ and follow reasonable
            procedures to assure maximum possible accuracy of Plaintiff’s credit
            report, information and file, in violation of 15 U.S.C. §1681e(b).

   44.The conduct of Equifax was a direct and proximate cause, as well as a

      substantial factor, in bringing about the injuries, damages and harm to Plaintiff

      that are outlined more fully above and, as a result, Equifax is liable to Plaintiff

      for the full amount of statutory, actual and punitive damages, along with the

      attorneys’ fees and the costs of litigation, as well as such further relief, as may

      be permitted by law.

      WHEREFORE, Plaintiff, KARYN MILLER, respectfully requests judgment

be entered against Defendant, EQUIFAX INFORMATION SERVICES, LLC, for

the following:




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       a. All actual compensatory damages suffered pursuant to the Fair Credit

          Reporting Act, 15 U.S.C. § 1681n(a);

       b. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting

          Act, 15 U.S.C. § 1681n(a);

       c. Costs and reasonable attorneys’ fees pursuant to the Fair Credit

          Reporting Act, 15 U.S.C. § 1681n(a);

       d. Punitive damages and equitable relief, including enjoining Defendant

          from further violations, pursuant to Fair Credit Reporting Act, 15

          U.S.C. § 1681n(a); and

       e. Any other relief that this Honorable Court deems appropriate.

                     COUNT IV
DEFENDANT NCB MANAGEMENT SERVICES VIOLATED THE FAIR
               CREDIT REPORTING ACT

 45.Plaintiff repeats and re-alleges paragraphs one (1) through thirty-five (35) of

    Plaintiff’s Complaint as the allegations in Count IV of Plaintiff’s Complaint.

 46.Defendant NCB Management Services violated sections 1681n and 1681o of

    the FCRA by engaging in the following conduct, which violates 15 U.S.C.

    §1681s-2(b):

       a. Willfully and negligently failing to review all relevant information
          concerning Plaintiff’s account provided to Defendant;



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         b. Willfully and negligently failing to report the inaccurate status of the
            inaccurate information to all credit reporting agencies;

         c. Willfully and negligently continuing to furnish and disseminate
            inaccurate and derogatory credit, account and other information
            concerning the Plaintiff to credit reporting agencies and other entities
            despite knowing that said information was inaccurate;

         d. Willfully and negligently failing to comply with the requirements
            imposed on furnishers of information pursuant to 15 U.S.C. § 1681s-2;
            and

         e. Willfully and negligently failing to establish and implement reasonable
            written policies and procedures regarding the accuracy and integrity of
            the information relating to consumers that it furnishes to a consumer
            reporting agency pursuant to Regulation V.12 C.F.R. § 1022.42(a).

   47.NCB Management Services’ conduct was a direct and proximate cause, as

      well as a substantial factor, in causing the injuries, damages and harm to

      Plaintiff that are outlined more fully above, and as a result, NCB Management

      Services is liable to compensate Plaintiff for the full amount of statutory,

      actual and punitive damages, along with attorneys’ fees and costs, as well as

      such other relief permitted by law.

      WHEREFORE, Plaintiff, KARYN MILLER, respectfully requests judgment

be entered against Defendant, NCB MANAGEMENT SERVICES, INC., for the

following:

         a. All actual compensatory damages suffered pursuant to the Fair Credit

             Reporting Act, 15 U.S.C. § 1681n(a);
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       b. Statutory damages of $1,000.00 pursuant to the Fair Credit Reporting

          Act, 15 U.S.C. § 1681n(a);

       c. Costs and reasonable attorneys’ fees pursuant to the Fair Credit

          Reporting Act, 15 U.S.C. § 1681n(a);

       d. Punitive damages and equitable relief, including enjoining Defendant

          from further violations, pursuant to Fair Credit Reporting Act, 15

          U.S.C. § 1681n(a); and

       e. Any other relief that this Honorable Court deems appropriate.

                     COUNT V
DEFENDANT NCB MANAGEMENT SERVICES VIOLATED THE FAIR
           DEBT COLLECTION PRACTICES ACT

 48.Plaintiff repeats and re-alleges paragraphs one (1) through thirty-five (35) of

    Plaintiff’s Complaint as the allegations in Count V of Plaintiff’s Complaint.

 49.Defendant NCB Management Services violated the FDCPA based on the

    following:

       a. Defendant violated § 1692d of the FDCPA by engaging in conduct the

          natural consequences of which is to harass, oppress, and abuse Plaintiff

          in connection with the collection of an alleged debt, when Defendant

          continued to report the alleged debt to Plaintiff’s credit report after

          Plaintiff disputed the alleged debt;

       b. Defendant violated § 1692e(10) by using false representations or
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             deceptive means to collect or attempt to collect any debt, when

             Defendant disregarded Plaintiff’s dispute of the alleged debt and

             continued to deceptively perpetuate the false representation that

             Plaintiff owes a debt – and continued to do so when Defendant could

             not verify or validate Plaintiff’s account;

         c. Defendant violated § 1692g(a)(3) of the FDCPA by continuing to

             assume the validity of the alleged debt, when Plaintiff disputed of the

             validity of the debt in writing and after being notified by Defendants

             Trans Union, Experian and Equifax of the Plaintiff’s dispute which they

             received from Plaintiff; and

         d. Defendant violated § 1692f of the FDCPA by its use of unfair or

             unconscionable means to collect or attempt to collect any debt, when

             Defendant engaged in each of the foregoing violations.

      WHEREFORE, Plaintiff, KARYN MILLER, respectfully requests judgment

be entered against Defendant, NCB MANAGEMENT SERVICES, INC., for the

following:

         a. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection

             Practices Act, 15 U.S.C. § 1692k;




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        b. Costs and reasonable attorneys’ fees pursuant to the Fair Debt

           Collection Practices Act, 15 U.S.C. § 1692k; and

        c. Any other relief that this Honorable Court deems appropriate.




DATED: January 11, 2021             RESPECTFULLY SUBMITTED,


                              By:_/s/Shireen Hormozdi ______
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